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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAI‘I


  JASON WOLFORD, ALISON                         CIVIL NO. 23-CV-00265 LEK-WRP
  WOLFORD, ATOM KASPRZYCKI,
  HAWAII FIREARMS COALITION,                    DECLARATION OF LAURA H.
                                                THIELEN
                      Plaintiffs,

        vs.

  ANNE E. LOPEZ, IN HER OFFICIAL
  CAPACITY AS THE ATTORNEY
  GENERAL OF THE STATE OF
  HAWAII,

                      Defendant.



                     DECLARATION OF LAURA H. THIELEN

        I, LAURA H. THIELEN, hereby state and declare as follows:

        1.     I am the Director of the Department of Parks and Recreation (“DPR”),

  City & County of Honolulu.

        2.     I have personal knowledge of, and am competent to make this

  Declaration, concerning the matters set forth below. I note, however, that the

  specific statistical information provided herein regarding the numbers of

  participants in certain programs, as well as the use of DPR facilities by specific
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  schools or organizations, was given to me by my subordinate employees based on

  DPR’s regularly kept business records.

        3.     I was nominated to be Director of DPR in January 2021 – and

  confirmed as Director in February 2021 – and have served in this capacity since

  that time. In this role, and as indicated on DPR’s website, I oversee approximately

  769 DPR employees and an additional 908 contract employees. DPR, “About us”

  (last updated July 10, 2023), available at

  https://www.honolulu.gov/parks/default/about-us.html.

        4.     As indicated on DPR’s website, DPR manages 402 parks comprising

  4,967 acres within the City & County of Honolulu. This includes 62 beach parks,

  156 playgrounds and swings, 221 baseball/softball diamonds, and 585 outdoor play

  courts. DPR, “About us” (July 10, 2023), available at

  https://www.honolulu.gov/parks/default/about-us.html.

        5.     DPR facilities are generally closed from 10:00 p.m. to 5:00 a.m.,

  though this can vary based on community input, with exceptions for New Year’s

  Eve and other special events. A dedicated website indicates these regular park

  closure hours at https://www.honolulu.gov/parks/default/park-closure-hours.html.

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          Use of DPR facilities by children and for educational programs

        6.     DPR’s facilities are heavily used by children, both for organized and

  unorganized activities; DPR also offers educational programming – including

  classes in the arts, language, culture, and athletics – for children and adults. Just as

  a few examples:

               a. The State Department of Education frequently uses DPR facilities

                  – particularly the many DOE schools that are adjacent to DPR

                  facilities. For example, during the school year, Hōkūlani

                  Elementary School has reserved the use of the large baseball field

                  at the adjacent Kānewai Park every day during school hours.

                  Castle High School uses Kāne‘ohe District Park for athletics

                  practices after school. Private schools, such as Kamehameha

                  Schools Kapālama, use DPR facilities for field trips. Private

                  schools also use DPR facilities for athletics practices; for example,

                  Maryknoll School often holds weekend basketball practices at a

                  DPR gymnasium.

               b. The City’s Summer Fun program is a summer day camp for

                  children between six and thirteen years old, with a program for

                  Junior Leaders ages thirteen to seventeen, offered at 53 locations,

                  including forty-seven parks and six DOE schools in 2023.


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                 Summer Fun operates from 8:30 a.m. to 2:00 p.m. weekdays, and

                 several locations have additional programming before 8:30 a.m.

                 and/or after 2:00 p.m. (“Summer Plus After” and “Summer Plus

                 Before & After”). Summer Fun’s registration fee is $25 (with an

                 additional excursion fee, depending on the particular site, of no

                 more than $100) for the entire summer – June and July 2023, when

                 most schools are closed – making this an affordable option for

                 Honolulu parents with employment outside the home. Based on

                 staff reports, my understanding is that, in 2023, approximately

                 7,755 children are participating in Summer Fun, along with

                 approximately 1,300 Junior Leaders. Mililani District Park has

                 approximately 425 child participants this summer, and Mānoa

                 Valley District Park has approximately 350 child participants,

                 meaning there are hundreds of children present in these parks

                 during Summer Fun hours. DPR, “Summer Fun Program” (May

                 11, 2023), available at

                 https://www.honolulu.gov/parks/program/summer-fun-

                 program.html.

              c. DPR offers a wide range of clinics and classes. There are classes

                 specifically for children and teenagers, such as Beginner Boxing,


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                 Basketball Skills Clinics, Chess, Gymnastics, Hula, Lifeguard

                 Certification, Soccer, Percussion, Tennis, Ukulele, Volleyball,

                 Water Polo, and various swimming courses. There are also classes

                 specifically for adults, including ceramics, ballroom dancing,

                 English Language, Hawaiian Language, Korean Language and

                 Culture, Meditation, Painting, Ti Leaf lei-making, and seniors club

                 meetings, as well as hundreds of athletics classes and clinics.

                 There are also courses for parents and children to attend jointly.

                 DPR, Activities, available at https://bit.ly/DPR-Activities-

                 Summer2023 (last accessed July 5, 2023). Approximately 28,000

                 individuals (including children and adults) participate in these

                 programs each year. In the fall of 2022, there were approximately

                 615 classes for children and youths at DPR facilities, with

                 approximately 5,789 child/youth participants. In the spring of

                 2023, there were approximately 598 classes for children and

                 youths at DPR facilities, with approximately 5,579 child/youth

                 participants.

              d. DPR’s facilities are used extensively for private youth sports

                 activities. For example:




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                 i. The American Youth Soccer Organization (“AYSO”) uses

                   DPR’s facilities across O‘ahu for youth soccer leagues, with

                   numerous leagues for children of different ages. More

                   information is available on its website,

                   https://www.ayso178.org/.

                ii. i9 Sports uses DPR’s facilities across O‘ahu for youth soccer,

                   baseball, flag football, basketball, and volleyball leagues, with

                   numerous leagues for children of different ages. More

                   information is available on its website,

                   https://www.i9sports.com/honolulu-youth-sports-leagues.

               iii. Little League uses DPR’s facilities across O‘ahu for baseball

                   and softball year-round. Little League’s website helps to give

                   some idea of the scale and intensity of Little League’s use of

                   DPR’s facilities: Honolulu Little League’s “Majors” team –

                   eleven- to twelve-year-olds – won the Little League World

                   Series in 2022 and 2018, the Waipi‘o Little League team won

                   the Little League World Series in 2008, and the ‘Ewa Beach

                   team won the Little League World Series in 2005. See

                   Honolulu Little League, “About Us,” available at




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                    https://honolululittleleague.com/about-us (last accessed July 5,

                    2023).

                iv. There are innumerable other youth sports leagues, classes, and

                    clinics at DPR facilities. As just one example, Mānoa Valley

                    District Park has – among other things – its own youth

                    basketball league, its own youth baseball league, and its own

                    youth aquatics league. On many days in 2022, either the

                    Mānoa Youth Baseball Federation or PAC 5 Football had

                    reserved use of one or more fields at the park. Indeed, each of

                    the five districts within DPR has its own youth sports league –

                    usually including basketball and volleyball, and sometimes flag

                    football – with practices and games held on the weekends.

              e. DPR’s facilities are used for other youth-focused events, such as

                 the Annual North Shore Menehune Surfing Championship.

              f. DPR issues thousands of “picnic,” “park use,” and camping

                 permits each year. In Calendar Year 2022, DPR issued 11,753

                 “picnic” and/or “park use” permits, while also issuing 8,776

                 camping permits during that same time period. These permits

                 allow individuals to reserve specific areas of a park for things like

                 birthday parties, family picnics, or overnight camping in


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                   designated campgrounds. DPR does not ask permittees to list the

                   type of event they intend to hold at the park site; however, these

                   picnic sites and campgrounds are very commonly used for

                   children’s birthday parties.



                                Beach parks and beaches

        7.     At DPR’s 62 beach parks, the “beach” and the “park” are not two

  separate things. Instead, the park includes the beach – that is, the beach park

  includes the sand or rocks constituting the beach, as well as some area that is not

  sand (such as grass or other plants), as one “park.” In most of these parks, there is

  no clear boundary between the “beach” and the rest of the park, for several

  reasons. First, the sand shifts depending upon the weather and the season. Second,

  where there is grass (or soil or other plants) adjacent to sand, there is typically a

  transition zone in which sand mixes with grass, soil, and/or other plants. For

  example, at Ala Moana Regional Park – a 119-acre park in urban Honolulu – there

  is a half-mile long beach. Most of the sand is adjacent to grass, and park users

  commonly set up pop-up tents in the grassy areas where they sit, leave their

  belongings, and cook food. Park users will routinely move between the ocean, the

  sand, the grass, the sidewalk, and parking areas. Going to “the beach” at one of

  these 62 beach parks necessarily means going to “the park.” Additional


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  information about Ala Moana Regional Park is available at

  https://bit.ly/AlaMoanaPark.

        8.    Here are two photographs, publicly available on the internet, to better

  illustrate this point. This is a photograph of Ala Moana Beach Park:




  Hawaii News Now, “State approves Honolulu plan to add sand to Ala Moana

  beach,” Feb. 18, 2021, available at https://bit.ly/HNN-photo-AlaMoanaBeachPark

  (photo credit: Associated Press).

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         This is a photograph of Kuli‘ou‘ou Beach Park:




   Available at https://bit.ly/Yelp-photo-KuliououBeachPark (photo credit: user

   “Vincent L.” on Yelp.com, dated March 1, 2021). Again, there is often no

   meaningful distinction between “park” and “beach” at DPR facilities.

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                             First Amendment activities

         9.    DPR’s facilities are heavily used for First Amendment activities.

   Here are just a few recent examples of recent and upcoming events, which I have

   taken from DPR records (which records can be provided to the Court upon

   request):

   6/12/2022   Parade       King Kamehameha Floral          Kapi‘olani Park
                            Parade

   6/18/2022   Event        Chaplain’s Walk                 Kapi‘olani Park

   6/24/2022   March        Roe v. Wade support             Ala Moana Park

   6/25/2022   Parade       AIDS Walk                       Kapi‘olani Park

   6/28/2022   Event        Papa Ola Lōkahi Meeting         Kapi‘olani Park

   7/1/2022    Event        Lei draping and gathering       Kapi‘olani Park
                            at Gandhi Statue

   7/7/2022    Event        Music Recital                   Kapi‘olani Park

   7/9/2022    Parade       Family Day Parade –             Atkinson to Kapi‘olani
                            God’s ‘Ohana Day Parade         Park

   7/24/2022   Event        Israeli Folk Dancing            Kapi‘olani Park

   7/31/2022   Event        Lā Ho‘iho‘i Ea – Sovereignty Thomas Square
                            Restoration Day

   8/3/2022    Event        Hula performance                Kapi‘olani Park

   8/20/2022   Event        Celebration of Life             Kapi‘olani Park

   9/17/2022   Rally        Freedom Rally                   Kapi‘olani Park



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   10/2/2022   Parade     Komen Foundation             Kapi‘olani Park
                          More than Pink Walk

   10/15/2022 Parade      Honolulu Pride Parade        Atkinson to Kapi‘olani
                                                       Park

   11/11/2022 Event       Veteran’s Day Ceremony       Kapi‘olani Park

   12/17/2022 Parade      Chanukah Car Menorah Parade King Kalakaua Park

   1/16/2023   Parade     Martin Luther King Parade    Ala Moana Park to
                                                       Kapi‘olani Park

   4/1-2/2023 Event       Pow Wow in Paradise          Ala Moana Park

   4/23/2023   Protest/   Red Hill Walk for Water      Ala Moana Park
               March

   4/29/2023   Event      Keiki Community Fair and     A‘ala Park
                          Drag Story Hour

   4/29/2023   Protest    Protest of Drag Story Hour   A‘ala Park

   5/17/2023   Event      Kamehameha III Birthday      Thomas Square
                          Lei Draping

   7/8/2023    Parade     Family Day Parade –          Atkinson to Kapi‘olani
                          God’s ‘Ohana Day Parade      Park

   Upcoming

   7/30/2023   Event      Lā Ho‘iho‘i Ea – Sovereignty Thomas Square
                          Restoration Day

   7/30/2023   Event      La Hoihoi Ea – Sovereignty   Pokai Bay
                          Restoration Day

   8/26/2023   Event      Celebration of Ukrainian     Ala Moana Park
                          Independence Day



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         10.    There are innumerable other events across O‘ahu within DPR’s

   facilities that involve First Amendment protected activity, including:

                   a. Church services;

                   b. Meetings for groups such as Alcoholics Anonymous;

                   c. Art exhibitions;

                   d. Concerts, including concerts at the Waikīkī Shell; and

                   e. Photography for weddings, engagements, and other events.

         11.    As indicated above, larger events – for which permits are required –

   are most typically held at Kapi‘olani Park and Ala Moana Regional Park.

   However, for other City parks, permits are not required for events of fewer than 50

   people. As such, participants may not – and need not – seek a permit from DPR to

   hold these smaller activities, though they are very common across DPR facilities.

                                         Conclusion

         12.    In sum, the use of DPR facilities by children, the use of DPR facilities

   for educational purposes, and the use of DPR facilities for First Amendment

   activities is extraordinarily common.

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